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JUL 16 2018

 

IN THE UNITED STATES DISTRICT COl

.S. MAG\ST_RATE JUDGE

 

FOR THE DISTRICT OF NEW MEXICO

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. Case No.: 1:17-cV-00584-SWS-MLC
SANJEEV ARORA,
Defendant.

 

 

ORDER ON DEFENDANT’S FIRST MOTON TO COMPEL

 

This matter comes before this Court on Defendant’s First Motion to Compel. In

accordance with this Court’s direction, the parties conducted an informal telephone conference

With the Court on March 19, 2018. Defendant was granted leave to file its motion to compel.

This matter concerns the Plaintift’ s exercise of its deliberative process privilege regarding two

memorandums referred hereto as the “May 20 memo” [Doc. 22-2] and the “June 12 Memo” [Doc.

22-3].

Background and Facts

Defendant is citizen of the United States Who maintained financial assets in India. The

United States contends he willfully failed to report those assets for income tax purposes, and

imposed on Defendant a financial penalty of approximately $6.7 million, Which was upheld by the

 

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IRS’s office of appeals in 2015. The two memos at issue relate to the 2015 decision on that
appeal.

Defendant asserts a number of arguments as to why the privilege should not be applicable
in this matter. Defendant initially argues that the United States failed to follow appropriate
procedural requirements for the assertion of the privilege because the United States did not provide
a declaration or affidavit establishing personal consideration prior to the assertion of the privilege.
Defendant also asserts that the subject memos did not contribute to the formation of important ’
public policies, and thus are not entitled to the privilege Finally, Defendant questions Whether
the June 12 memo Was pre-decisional, as required for application of the deliberative privilege.

Law and Discussion
Assertion of Privilege

Defendant contends that to properly assert the deliberative process privilege, the United

States must comply with the following procedural requirements:

l. Assertion of the privilege, after personal consideration, by declaration or affidavit
of the agency head with control over the requested document or by one to Whom
such authority has been delegated;

2. A statement with particularity of What information is subject to the privilege; and

3. A statement of precise and certain reasons for maintaining the confidentiality of
the requested document

Confidential Informant 59-0507] v. United States, 108 Fed.Cl. 121, 131 (2012). Subsequent to
the filing of the motion to compel, Plaintiff complied with the above procedure [Doc. 23-1 & 23-
2]. In Conjidentz'al Informant, the Court of F ederal Claims held that the procedural requirements

should be satisfied at the time of the initial claim of` privilege and not in response to a motion to
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compel. Conjidential lnformant 59-0507] v. United States, 108 Fed.Cl. at 135. The Federal
Claims Court relied upon Anderson v. Marz'on County Sheriff’s Dept., 220 F.R.D. 555, ftn.$ (S.D.
Ind. 2004), which held that the deliberative process privilege was inapplicable when the plaintiff
files a Title VII claim of discrimination in which the intent of the government is at issue. Id. at
560. “If the plaintist cause of action is directed at the govemment’s intent, however, it makes no
sense to permit the government to use the privilege as a shield. For instance, it seems rather
obvious to us that the privilege has no place in a Title VII action or in a constitutional claim for
discrimination.” Id. at 560, quoting In re Subpoena Duces Tecum Served on the Oj}'ice of the
Comptroller of the Currency, 145 F.3d 1422, 1424 (D.C. Cir. 1998). lt was only after the court
had determined that the privilege was inapplicable that the court analyzed the affidavit and found
it deficient The court further noted, in dicta, that any statement or affidavit should be supplied
at the time of the initial assertion of the privilege. The Anderson court relied upon Miller v.
Pancucci, 141 F.R.D. 292, 300 (C.D. Cal. 1992) which in turn relied upon Kerr v. U.S. Dist. Court
for Northern Dist. OfCalifornia, 51 1 F.Zd 192 (9th Cir. 1975). In Miller the court Was addressing
the “0fficial information” privilege and held that it must be asserted by affidavit at the time of its
assertion In Kerr the court was considering the application of the official or state secrets privilege
in a civil rights action. The Kerr court noted that no representative of the impacted governmental
agency had asserted the privilege before the court and having not been invoked it could not be
considered. In doing so the court relied upon U.S. v. Reynolds, 345 U.S. l, 7-8, 73 S.Ct. 528, 532,

97 L.Ed. 727, (1953). Kerr does not require the production of such statements or affidavits at the

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time of the initial assertion of the privilegel. The same is true in Reynolds which also addressed
a governmental privilege of state secrets. While these cases continue to create controversy as to
who may assert the privilege,2 they do not support Defendant’s contention that the assertion of the
deliberative process privilege must be by an agency official at the time of the response to the
discovery request

The bottom line is that the idea that a statement by an agency official must be provided
upon the initial assertion of the deliberative process privilege finds little support in the courts, and
where it does appear, it has grown out of a tortured reading of precedents It is not supported by
any decision within this Circuit or by the Supreme Court. To hold that the United States has
waived this privilege is not supported by binding law or common sense. It is unclear to this Court
if the deliberative process privilege must be asserted by an agency official, rather than counsel
handling the case. There is logic in requiring the agency to consider the application of the state
secrets privilege, as that can only be determined by consideration of the information sought to be
protected in light of the agencies knowledge of the importance of the information The
deliberative process, at least in the circumstances presented herein, can properly be determined by
trial counsel. Regardless of who asserts the privilege, to require a contemporaneous affidavit
alongside the initial exercise of the privilege seems to be creating a procedural trap which avoids
thoughtful consideration of the nature of the information sought to be protected. Courts have a

number of tools to address potential abuses regarding the exercise of the privilege, including in

 

' Kerr, appears to recognize that the privilege may be asserted following the assertion of the privilege Ia'. at 198-99.
2 A good discussion on this matter can be found in Proper Assertion of the Deliberative Process Privilege:
The Agency Head Requirement, 77 Fordham L. Rev. 1183 (2008).

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camera review, where appropriate Nevertheless, Plaintiff has presented an affidavit supporting
the exercise of the privilege in response to Defendant’s motion to compel [Docs. 23-1 & 23-2].
In the context of this case the United States has presented sufficient information for this Court’s
determination as to the applicability of the privilege to the memos in question.

This Court has reviewed the two redacted memos at issue. The nature of the redactions
are similar in both memos. The deliberative process privilege does not apply to facts, but rather
“advisory opinions, recommendations, and the deliberations” of the governmental decision
process. Dep't of the Interior v. Klamath Water Users Protective Assoc. 532 U.S. 1, 8-9, 121
S.Ct.1060, 1065 (2001). The United States only redacted portions of the memos, including the
section entitled “Settlement Discussions”, “Hazards for the Taxpayer”, “Hazards for the
Governmen ”, “Appeals Conclusion and Settlement Recommendations”, “Exam Mitigated
Penalties”, “Settlement Offer Rejected”, and “Review and Concurrence”. These titles are
consistent With the Government’s claim of a deliberative process privilege, especially when
considered in light of the substantial portions of the memos which were not redacted Richard G.
Goldman, Deputy Associate Chief Counsel in the Office of Chief Counsel, Internal Revenue
Service, submitted a declaration to which he asserts that was delegated the authority to claim the
deliberative process privilege. Mr. Goldman asserts that the redactions “consists of and reflects
the respective legal analysis of the author and internal reviewer as to the merits of, and their
personal assessments of the strengths, weaknesses, in any litigation hazards associated with, the
position to uphold the willful failure to file” [Doc. 23-2, 11 10]. This Court did not locate any

information in the record that was inconsistent with that statement
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The deliberative process privilege applies only to information which is predecisional
NLRB v. Sears, 421 U.S. 132, 151, 95 S.Ct 1504, 1516-1517 (1975). Defendant has a legitimate
concern in this regard because the June 12 Memo corresponds to the same date as the issuance of
the decision [Doc. 22-3, p. 1]. The Declarations of Greg Butler [Doc.23-1. 1[1[ 3-6] and Richard
Goldman [Doc. 23-2, 1[ 8] are unrefuted and as such will be accepted by the Court. The nature
and form of the memo also supports the declarations in this regard. Both memos are pre-
decisional and as such fall within the deliberative process privilege,

Finally, Defendant asserts that the privilege is only applicable to the formulation of`
important public policy.

So far as they might matter here, those privileges include the privilege for attorney
work-product and what is sometimes called the “deliberative process” privilege,
Work product protects “mental processes of the attorney,” United States v. Nobles,
422 U.S. 225, 238, 95 S.Ct. 2160, 45 L.Ed.2d 141 (1975), while deliberative
process covers “documents reflecting advisory opinions, recommendations and
deliberations comprising part of a process by Which governmental decisions and
policies are formulated,” Sears, Roebuck & Co., 421 U.S., at 150, 95 S.Ct. 1504
(internal quotation marks omitted). The deliberative process privilege rests on the
obvious realization that officials will not communicate candidly among themselves
if each remark is a potential item of discovery and front page news, and its object
is to enhance “the quality of agency decisions,” z'd., at 151, 95 S.Ct. 1504, by
protecting open and frank discussion among those who make them within the
Government, see EPA v. Mink, 410 U.S. 73, 86-87, 93 S.Ct. 827, 35 L.Ed.2d 119
(1973); see also Weber Aircraj?L Corp., supra, at 802, 104 S.Ct. 1488.

Dep‘t of Interior v. Klarnath Water Users Protective Ass'n, 532 U.S. 1, 8-9, 121 S. Ct. 1060, 1065-
66, 149 L. Ed. 2d 87 (2001).
Neither the Supreme Court nor the Tenth Circuit Court of Appeals has ever limited the

deliberative process privilege to the formation of important governmental policy. Defendant

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reads the cases he cites too narrowly. For example, in Petroleum Information Corp. v. U.S. Det.
of Interior, 976 F.2d 1429 (D.C.C. 1992) future Justice Ginsburg attempted to explain the
limitations of the deliberative process privilege within the context of a Freedom of Information
Act request. She distinguished between factual investigations which compile facts which lack
subjective conclusions and those matters which bear on policy-oriented judgment in which it is
important to promote the frank discussion of “legal and policy making processes” Id. at 1434.
Our inquiry,whether the agency has plausibly demonstrated the involvement of a policy judgment
in the decisional process relevant to the requested documents serves a further, complementary
purpose; it enables us to contain Exemption 5 within its proper scope. The release of materials that
do not embody agency judgments-for example, materials relating to standard or routine
computations or measurements over which the agency has no significant discretion-is unlikely to
diminish officials' candor or otherwise injure the quality of agency decisions. Requiring disclosure
of such materials is fully “consistent with efficient government operation.” See S.Rep. 813 at 9.
Petroleum Information Corp. v. U.S. Det. oflnterior, 976 F.2d at 1436.

The decision of the IRS in this matter involves the exercise of policy judgment
The purely factual findings and decisional standards are not redacted. Decisions of this nature are
application of agency policy and serve as a public statement of that policy. As such, the

deliberative processes in formulating such decisions are privileged

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Defendant’s Motion to Compel is DENIED. s

Dated this 16th day of June, 2018 // )/%

l\/lark L. Carman
United States Magistrate Judge

  
 

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